Case 2:04-CV-02003-SHI\/|-tmp Document 39 Filed 07/15/05 Page 1 of 4 Page|D 54

W`

IN THE UNITED STATES DISTRICT COURT*“ED
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

wEsTERN DIvIsIoN DSJUL\S
THOWS M.G_OU\D
GHKUSU§UIGUI
MELODY A.E. wINTERs, WBOPmJaMHB

Plaintiff,
vs. No. 04~2003-Ma/P
JOHN W. SNOW, SECRETARY,
UNITED STATES DEPARTMENT
OF THE TREASURY, et al.,

Defendants.

>-<>-<>-<>-<>-<>-<>-<>-<>-<>-<><>-<>-<

 

ORDER DENYING MOTION FOR APPOINTMENT OF COUNSEL

 

Plaintiff, Melody E.A. Winters, has filed a prp se employment
discrimination complaint alleging acts of discrimination and
reprisal during her employment with the United States Department of
the Treasury. The Court issued an order on January 23, 2004 that,
igt§; alia, denied appointment of counsel, dismissed all parties
except John W. Snow, the Secretary of the Treasury, and authorized
service on the remaining defendant. On September 15, 2004,
Plaintiff filed a motion for joinder of parties. On October 19,
2004, United States Magistrate Judge Pham issued an order denying
plaintiff's motion for joinder. On December 28, 2004, plaintiff
filed a motion seeking class certification. On June 13, 2005, the
Court denied plaintiff's motion for class certification.

Plaintiff made a second motion for appointment of counsel
during the scheduling conference held on June 13, 2005, on the

ground that she is disabled within the meaning of the Americans

This document entered on the docket she fn comp¥!ance
with nme vs and/for ra(a) FHCP on _7_~;&_§_” '

Case 2:04-CV-02003-SHI\/|-tmp Document 39 Filed 07/15/05 Page 2 of 4 Page|D 55

with Disabilities Act (“ADA”). Contrary to plaintiff’s contention,
an employment discrimination plaintiff has no constitutional or
statutory right to appointed counsel. Moore v. Sunbeam Corp., 459
F.2d 811 (7th Cir. 1972). A careful review of the ADA and the
other relevant statutory authorities indicates that disabled
persons have no unique right to the appointment of counsel. Under
28 U.S.C. § 1915(d)1 and 42 U.S.C. § 2000e-5(f)(l), the Court has
the authority to appoint counsel, but this authority lies solely
within the discretion of the district court. §§e_ Lavado v.

Keohane, 992 F.2d 601, 604-05 (6th Cir. 1993}.

 

Courts generally do not appoint counsel in a civil case absent
a showing of "exceptional circumstancesl' ldL at 605-06. In
determining whether an appointment is warranted, courts evaluate
the type of case, the complexity of the factual and legal issues
involved, and the ability of the litigant to represent herself.
§ee idb at 606; Kilgo v. Ricks, 983 F.2d 189, 193 (llth Cir.
1993)("The key [for determining whether exceptional circumstances
exist] is whether the p;g §§ litigant needs help in presenting the
essential merits of his or her position to the court. Where the
facts and issues are simple, he or she usually will not need such
help.")

Plaintiff is capable of` preparing her case by conducting

factual discovery and. providing the Court with the underlying

 

1 However, "§ l9l5(d) does not authorize the federal courts to make

coercive appointments of Counsel" to represent indigent civil litigants. Mallard
v. United States District Court for the Southern District of Iowa, 490 U.S. 296,
310 {1989).

Case 2:04-CV-02003-SHI\/|-tmp Document 39 Filed 07/15/05 Page 3 of 4 Page|D 56

facts. The issues in this case are not so complex that Plaintiff
cannot adequately present her evidence and argument without
assistance of counsel. Plaintiff has filed numerous pleadings and
made required court appearances. Accordingly, the Court concludes
that appointment of counsel is not warranted and Plaintiff's second

motion for appointment of counsel is DENIED.
IT 13 so osDERED this "'yL day of July, 2005.

JA(//M_._`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

sA'E'T DISRIT oURT - WESTN'ERDIST'_RI_©F TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:04-CV-02003 Was distributed by faX, mail, or direct printing on
July ]9, 2005 to the parties listed.

 

 

Linda N. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Melody A. E. Winters
3237 Spencer Dr.
Memphis7 TN 38115

Honorable Samuel Mays
US DISTRICT COURT

